                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 IN RE: REALPAGE, INC., RENTAL                 )   Case No. 3:23-md-03071
 SOFTWARE ANTITRUST                            )   MDL No. 3071
 LITIGATION (NO. II)                           )
                                               )   THIS DOCUMENT RELATES TO:
                                               )   ALL CASES
                                               )

                                    OMNIBUS ORDER


       This Omnibus Order resolves several motions to dismiss. (Doc. Nos. 570, 572, 576, 580,

581, 587, 590, and 592).

       For the reasons in the Memorandum Opinion, (Doc. No. 685) Thoma Bravo Defendants’

Motions to Dismiss Multifamily Plaintiffs’ Second Amended Consolidated Class Action

Complaint (Doc. No. 570) and the Student Plaintiffs’ First Amended Consolidated Class Action

Complaint (Doc. No. 572) are DENIED.

       For the reasons in the Memorandum Opinion, (Doc. No. 686) TREV Management II LLC’s

Motion to Dismiss Student-Housing Plaintiffs’ First Amended Consolidated Class Action

Complaint (Doc. No. 576) is GRANTED. TREV Management II LLC is DISMISSED WITH

PREJUDICE from the Student Complaint.

       For the reasons in the Memorandum Opinion, (Doc. No. 687) the Motion to Dismiss LRO

Claims for Failure to State a Claim (Doc. No. 580) is DENIED.

       For the reasons in the Memorandum Opinion, (Doc. No. 688) Certain Defendants’ Motion

to Dismiss for Failure to Plead Agency Liability (Doc. No. 581) is DENIED.

       For the reasons in the Memorandum Opinion, (Doc. No. 690) Defendants’ Motions to

Dismiss Student Plaintiffs’ First Amended Consolidated Class Action Complaint (Doc. No. 587)




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is GRANTED. Defendants’ Motion to Dismiss Multifamily Plaintiffs’ Second Amended

Consolidated Class Action Complaint (Doc. No. 592) is DENIED.

      For the reasons in the Memorandum Opinion, (Doc. No. 689) Defendants’ Motion to

Enforce Class Action Waivers (Doc. No. 590) is GRANTED IN PART and DENIED IN PART.

The motion is GRANTED as to the class action waiver of Selena Vincin and her class action

claims are DISMISSED WITHOUT PREJUDICE. The motion is DENIED as to the class

action waivers for Brandon Watters and Jeffrey Weaver. The motion is GRANTED IN PART

and DENIED IN PART as to the class action waivers for Joshua Kabisch and Meghan Cherry.

      IT IS SO ORDERED.


                                         __________________________________________
                                         WAVERLY D. CRENSHAW, JR.
                                         CHIEF UNITED STATES DISTRICT JUDGE




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